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                                                                                           UNITED STATES DISTRICT COURT
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                                                                                            FOR THE DISTRICT OF ALASKA
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                                                         SOVEREIGN IÑUPIAT FOR A LIVING
                                                         ARCTIC, et al.,
                                                                                    Plaintiffs,
                                                                  v.
                                                         BUREAU OF LAND MANAGEMENT, et al.,
                                                                                    Defendants,
                                                                  and
                                                         CONOCOPHILLIPS ALASKA, INC., et al.,                     Case No.: 3:23-cv-00058-SLG
                                                                                    Intervenor-Defendants.
                                                         CENTER FOR BIOLOGICAL DIVERSITY,
                                                         et al.,
                                                                                    Plaintiffs,
                                                                  v.
                                                         BUREAU OF LAND MANAGEMENT, et al.,
                                                                                    Defendants,
                                                                  and
                                                         CONOCOPHILLIPS ALASKA, INC., et al.,                     Case No. 3:23-cv-00061-SLG
                                                                                    Intervenor-Defendants.


                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al., Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al., Case No. 3:23-cv-00061-SLG
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                                                         CONOCOPHILLIPS ALASKA, INC.’S RESPONSE TO MOTIONS FOR LEAVE
                                                                   TO FILE PROPOSED AMICUS CURIAE BRIEFS

                                                                  ConocoPhillips Alaska, Inc. (“ConocoPhillips”) hereby responds to the motions

                                                        for leave to submit an amicus brief filed by the Institute for Policy Integrity at New York

                                                        University School of Law; Patagonia, Inc.; the Sabin Center for Climate Change Law; a

                                                        group of seven Congressional representatives; and the Naqsragmiut Tribal Council. As an

                                                        initial matter, the proposed amici briefs collectively would add 138 pages of briefing to
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                                                        Plaintiffs’ opening round of summary judgment briefing. If the Court accepts the briefs,
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                                                        then the Defendants and Intervenor-Defendants will have to decide whether to ignore or
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                                                        respond to those voluminous pages. ConocoPhillips defers to the Court’s discretion on

                                                        whether to accept or decline the proposed amici briefs, but notes that there are ample

                                                        reasons to deny, or limit the Court’s consideration of, the proposed amici briefs. In this

                                                        regard, ConocoPhillips offers two observations on the pending motions and proposed

                                                        briefs.

                                                                  First, the proposed amici briefs reflect a “divide-and-conquer strategy that

                                                        implie[s] some coordination among the filers” 1 and Plaintiffs—all of whom share the

                                                        basic goal of “stopping Willow.” An amicus curiae is generally “an impartial individual

                                                        who suggests the interpretation and status of the law, gives information concerning it, and




                                                        1
                                                         United States v. Microsoft, No. C15-102RSM, 2016 WL 11782815, at *2 (W.D. Wash.
                                                        Nov. 14, 2016).

                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. – Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG

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                                                        advises the Court in order that justice may be done, rather than to advocate a point of

                                                        view so that a cause may be won by one party or another.” 2 None of the proposed amici

                                                        are impartial and all of them advocate a point of view that squarely aligns with Plaintiffs’

                                                        goals. By way of a few brief examples:

                                                                 •         Proposed amicus Institute for Policy Integrity (“Institute”) co-signed joint

                                                                           comments to the 2022 Draft Supplemental Environmental Impact Statement

                                                                           (“EIS”) for the Willow project with plaintiff Wilderness Society, and
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                                                                           Earthjustice, counsel for the CBD plaintiffs. 3 The Institute also submitted
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                                                                          joint comments on the 2020 EIS with plaintiffs Sierra Club and the
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                                                                          Wilderness Society. 4 And SILA’s counsel, Trustees for Alaska, relies on

                                                                          the Institute to support arguments in its comments. 5 The Institute has

                                                                          previously advocated against oil and gas development in Alaska 6 and

                                                                           joined with plaintiff Sierra Club to oppose such efforts. 7


                                                        2
                                                         Cmty. Ass’n for Restoration of Env’t (CARE) v. DeRuyter Bros. Dairy, 54 F. Supp. 2d
                                                        974, 975 (E.D. Wash. 1999).
                                                        3
                                                            AR773546.
                                                        4
                                                            AR642523.
                                                        5
                                                            AR509731-32.
                                                        6
                                                         Submission to U.S. Bureau of Land Management by Institute for Policy Integrity at
                                                        NYU School of Law, Comments on Arctic Coastal Plain EIS Scoping (June 19, 2018),
                                                        https://policyintegrity.org/documents/IPI_Comments_on_Arctic_Coastal_Plain_EIS_Sco
                                                        ping_061918.pdf.
                                                        7
                                                         Comments to Bureau of Land Management from Environmental Defense Fund, Institute
                                                        for Policy Integrity at New York University School of Law, Montana Environmental
                                                        Information Center, Sierra Club, and Union of Concerned Scientists, Quantifying and
                                                        Monetizing Greenhouse Gas Emissions from the Coastal Plain Oil and Gas Leasing
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. – Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                                      • Proposed amicus Patagonia, Inc. has a history of funding many of the

                                                                          organizations who are Plaintiffs in this litigation, and it acts as a conduit for

                                                                          donations to those organizations via its website. 8 Patagonia also submitted

                                                                          comments in opposition to Willow that align with the views expressed in

                                                                          comments submitted by Plaintiffs. 9

                                                                      • Proposed amici U.S. Congress Representatives Jared Huffman (CA), Raúl

                                                                          Grijalva (AZ), Becca Balint (VT), Nanette Diaz Barragán (CA), Katie
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                                                                          Porter (CA), Don Beyer (VA), and Alexandria Ocasio-Cortez (NY) have
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                                                                          actively attempted to stop Willow via political means, including releasing
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                                                                          statements such as “[t]he only acceptable Willow project is no Willow

                                                                          project” 10 and petitioning the Secretary of Interior to “suspend the Right of



                                                        Program (June 19, 2019),
                                                        https://policyintegrity.org/documents/Joint_SCC_Comments_to_BLM_on_Coastal_Plain
                                                        _Scoping_061918.pdf.
                                                        8
                                                          See, e.g., Patagonia, Patagonia Action Works, Sierra Club,
                                                        https://www.patagonia.com/actionworks/organizations/sierra-club/ (last visited Aug. 1,
                                                        2023); id., Natural Resources Defense Council, https://www.patagonia.com/actionworks/
                                                        organizations/natural-resources-defense-council/ (last visited Aug. 1, 2023); id., Center
                                                        for Biological Diversity, https://www.patagonia.com/actionworks/organizations/center-
                                                        for-biological-diversity/ (last visited Aug. 1, 2023); id., Trustees for Alaska,
                                                        https://www.patagonia.com/actionworks/organizations/trustees-for-alaska/ (last visited
                                                        Aug. 1, 2023); id., Earthjustice, https://www.patagonia.com/actionworks/
                                                        organizations/earthjustice/ (last visited Aug. 1, 2023).
                                                        9
                                                            AR772931; AR650005.
                                                        10
                                                          Press Release, Natural Resources Committee Democrats, Grijalva, Ocasio-Cortez,
                                                        Huffman, and Sen. Markey Issue Joint Statement on Willow Project Decision (Mar. 13,
                                                        2023), https://democrats-naturalresources.house.gov/media/press-releases/grijalva-
                                                        ocasio-cortez-huffman-and-sen-markey-issue-joint-statement-on-willow-project-decision.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. – Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                                          Way Permit (ROW) immediately and reject any future filings by

                                                                          ConocoPhillips for an Application for Permit to Drill (APD).” 11

                                                                      • Proposed amicus Sabin Center for Climate Change Law (“Sabin Center”)

                                                                          claims to be an “academic think tank.” 12 But it frequently advocates a

                                                                          partisan view against oil and gas development 13 and, in so doing, also

                                                                          coordinates with many of the Plaintiffs. 14

                                                                 Second, many of the proposed amici briefs raise legal issues and claims that have
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                                                        not been raised by Plaintiffs. With rare exceptions not applicable here, courts “do not
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                                                        consider on appeal an issue raised only by an amicus.” 15 For example, proposed amici
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                                                        11
                                                           See Letter to Deb Haaland, Secretary, Dep’t of Interior (Apr. 1, 2023),
                                                        https://bowman.house.gov/_cache/files/b/f/bf9e7a3a-4622-4487-985b-
                                                        36f48f669135/877BFD37787C57C6D1109ADE0D0E6BD3.2023.4.13-willow-letter-
                                                        final.pdf (signed by Members of Congress Jared Huffman, Raúl Grijalva, Nanette Diaz
                                                        Barragán, Katie Porter, and Alexandria Ocasio-Cortez, among others).
                                                        12
                                                          Counsel for the Sabin Center did not contact counsel for ConocoPhillips (or,
                                                        apparently, any defendants or intervenor-defendants) to request a position on its motion.
                                                        13
                                                          See AR853853-864 (Comments on Coastal Plain Oil and Gas Leasing Program EIS,
                                                        submitted by Jessica Wentz of the Sabin Center for Climate Change Law).
                                                        14
                                                           See, e.g., Defending the Planet Ep4: Climate Change in the Courts, Columbia Law
                                                        School Podcast (June 24, 2021),
                                                        https://scholarship.law.columbia.edu/defending_the_planet/5/ (Michael Burger and
                                                        Michael Gerrard of Sabin Center, and Peter Lehner, managing attorney at Earthjustice,
                                                        discussing environmental lawsuits to compel corporations to curb emissions).
                                                        15
                                                          Swan v. Peterson, 6 F.3d 1373, 1383 (9th Cir. 1993); United States v. Nunez, No. 21-
                                                        50131, 2022 WL 17883604, at *4 n.2 (9th Cir. Dec. 23, 2022) (“Because [the court]
                                                        do[es] not entertain legal issues raised for the first time in an appeal by a party appearing
                                                        as an amicus,” it will not consider where an amicus “seeks to introduce new facts outside
                                                        of the record and advance arguments not raised by the parties” (citing Pres. Coal., Inc. v.
                                                        Pierce, 667 F.2d 851, 862 (9th Cir. 1982))), petition for cert. docketed (U.S. Dec. 23,
                                                        2022) (No. 22-7629); United States v. Vazquez-Botet, 532 F.3d 37, 52 (1st Cir. 2008)
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. – Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Naqsragmiut Tribal Council—which has never elected to file any formal public

                                                        comments over many years of Willow NEPA reviews or to intervene in this litigation—

                                                        makes ANILCA arguments in its proposed brief that are not made by any party. 16 As two

                                                        other examples, the amicus brief by the members of Congress makes new statutory

                                                        interpretation claims regarding NEPA analysis, and the Institute argues for vacatur based

                                                        on issues not raised by Plaintiffs. 17

                                                                 In sum, ConocoPhillips defers to the Court’s discretion to accept or decline the
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                                                        proposed amici briefs. For the reasons stated above, ConocoPhillips submits that the
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                                                        proposed briefs provide little or no impartial information to assist the Court and merely
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                                                        reflect a coordinated effort to oppose the Willow project. Additionally, should the Court

                                                        accept any or all of the proposed amici briefs, it should decline to consider any claims

                                                        and arguments raised by proposed amici that are not raised by Plaintiffs.

                                                         DATED: August 1, 2023.
                                                                                                   STOEL RIVES LLP

                                                                                                   By: /s/ Ryan P. Steen
                                                                                                       Ryan P. Steen (Bar No. 0912084)
                                                                                                       Jason T. Morgan (Bar No. 1602010)
                                                                                                       Whitney A. Brown (Bar No. 1906063)

                                                                                                       Attorneys for Intervenor-Defendant
                                                                                                       ConocoPhillips Alaska, Inc.

                                                        (“[W]e ordinarily will not consider novel arguments advanced by an amicus on appeal,
                                                        but not also raised by a party or another entity which has formally intervened.”).
                                                        16
                                                          See Dkt. 114-1 at 13-17. Counsel for Naqsragmiut Tribal Council also did not contact
                                                        counsel for ConocoPhillips (or, apparently, any defendants or intervenor-defendants) to
                                                        request a position on its motion.
                                                        17
                                                          See Dkt. 117-001 at 8-12 (members of Congress); Dkt. 110-001 at 5-13 (Institute).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. – Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                                                       CERTIFICATE OF SERVICE

                                                                 I hereby certify that on August 1, 2023, I filed a true and correct copy of the

                                                        foregoing document with the Clerk of the Court for the United States District Court of

                                                        Alaska by using the CM/ECF system. Participants in Case No. 3:23-cv-00058-SLG and

                                                        Case No. 3:23-cv-00061-SLG who are registered CM/ECF users will be served by the

                                                        CM/ECF system.
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                                                                                                    /s/ Ryan P. Steen
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                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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